                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )   Case No. 1:09-CR-181-01
v.                                                 )
                                                   )   Chief Judge Curtis L. Collier
HARRY A. PRITCHETT A/K/A AOSAMA@                   )


                                  MEMORANDUM & ORDER

        Before the Court is Defendant Harry A. Pritchett=s (ADefendant@) pro se motion for

production of transcripts (Court File No. 1436). Defendant seeks to obtain a copy of his trial

transcript for purposes of researching issues for his appeal as well as other motions that Defendant

has filed or intends to file in the future. At the outset, this Court notes that Defendant=s transcript

request is improperly before this Court. However, more importantly, this Court reminds Defendant

that he is currently represented by counsel who can assist Defendant with his appeal and in filing

any relevant motions.1 Although Defendant expresses that he would like to Awaive his right to

counsel for purposes of this motion only,@ Defendant cannot both proceed pro se and have counsel.

See E.D. Tenn. L.R. 83.4(c). This Court also notes that Defendant admits he has discussed the

topic of transcripts with his attorney; he is just dissatisfied with the length of time it may take to

obtain the transcripts. For the above reasons, the Court DENIES Defendant=s pro se motion for

production of transcripts (Court File No. 1436).

        SO ORDERED.



        1
         Defendant avers he would like to obtain the transcripts to research matters related to
various motions, such as his motion for a new trial (Court File No. 1434). However, the Court
directs Defendant to its recent order denying Defendant=s motion for a new trial (Court File No.
1435). To the extent Defendant has a claim that can be heard under Rule 33(b)(1) of the Federal
Rules of Criminal Procedure, this Court cannot address it while his appeal is pending.



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   ENTER:

                                /s/
                                CURTIS L. COLLIER
                                CHIEF UNITED STATES DISTRICT JUDGE




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